Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 1 of 28 Page ID #:1001



                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

  Case No. 8:21-cv-01286-JLS-DFM                                        Date: August 29, 2022
  Title: Debby Day et al v. California Lutheran University et al

   Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

             V.R. Vallery                                                 N/A
             Deputy Clerk                                            Court Reporter

  ATTORNEYS PRESENT FOR PLAINTIFFS: ATTORNEYS PRESENT FOR DEFENDANTS:

                 Not Present                                         Not Present

  PROCEEDINGS: (IN CHAMBERS) ORDER GRANTING IN PART AND
               DENYING IN PART MOTION TO DISMISS FIRST
               AMENDED COMPLAINT (Doc. 58)

         Before the Court is a Motion to Dismiss First Amended Complaint filed by
  Defendants California Lutheran University, Chris Kimball, Melissa Maxwell-Doherty,
  Jim McHugh, and Karin Grennan. (Mot., Doc. 58; Mem., Doc. 58-1.) Plaintiffs
  opposed, and Defendants replied. (Opp., Doc. 68; Reply, Doc. 69.) After oral argument
  and review of the pleadings and the parties’ briefs, the Court GRANTS IN PART and
  DENIES IN PART Defendants’ Motion.

  I.     BACKGROUND

         On December 31, 2021, Plaintiffs filed a First Amended Complaint (“FAC”)
  against Defendants. (FAC, Doc. 41.) Named Plaintiffs are three coaches of the softball
  team at California Lutheran University (“CLU”), and the 24 Jane Doe Plaintiffs 1 are

         1
            The Court recently ordered that Plaintiffs use their actual names (Order, Doc. 76), and
  Plaintiffs filed a Second Amended Complaint (“SAC”) that identifies Plaintiffs Jane Does 1-24
  in the FAC by name (Doc. 78). Because these papers were filed before the Court’s Order and the
  filing of the SAC, the Court will continue to reference Plaintiffs as they are referenced in the
  papers. The FAC and the SAC are otherwise identical, and the Court issued an order deferring
  Defendants’ obligation to plead, move, or otherwise respond to the SAC until after the Court’s
  ruling on the instant Rule 12 motion (Doc. 83).
  ______________________________________________________________________________
                                CIVIL MINUTES – GENERAL                                          1
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 2 of 28 Page ID #:1002



                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:21-cv-01286-JLS-DFM                                      Date: August 29, 2022
  Title: Debby Day et al v. California Lutheran University et al

  female athletes who were members of the CLU softball team during the 2019-2020
  academic year (the “Softball Team”). (Id. ¶¶ 1-13, 68-71.)

          In their FAC, Plaintiffs allege that in January 2020, the Softball Team “held a
  team-bonding lip-sync event with makeup and costumes.” (Id. ¶ 4.) Jane Does 1-5
  decided to perform The Fresh Prince of Bel-Air theme song and “dress like ‘dudes’ in a
  ‘Boy Band’ with the style of Hip-Hop clothing worn by ‘Boy Bands.’” (Id. ¶ 68.) They
  also “decided to add hats or wigs to hide their feminine hairstyles, and makeup to portray
  facial hair to make their faces appear more masculine.” (Id. ¶ 68.) Two of the girls wore
  “dirty-blond ‘Napoleon Dynamite’ wigs.” (Id. ¶ 71.) The lip-sync routines were
  observed by members of the Softball Team, as well as by Plaintiff Coaches Day,
  Gluckman, and Young. (Id. ¶ 70.) Plaintiffs note that Does 1-5 took part in the lip-sync
  routine and Does 6-24 did not. (Id. ¶¶ 11-12.) The Softball Team later “posted pictures
  and videos of said routine to their Team Instagram page.” (Id. ¶ 72.)

          Plaintiffs allege that Defendants Chris Kimball, then the President of CLU and
  Melissa Maxwell-Doherty, then CLU’s Vice President of Mission and Identity, “viewed
  said pictures and confirmed with the Softball Team, their coaches, and their parents that
  said Softball Team members: a) were under the supervision of an African-American
  Softball coach; b) had makeup on their faces to resemble men’s facial hair in the form of
  beard stubble and goatees; and c) were not engaged in any racially motivated activities.”
  (Id. ¶ 5.) However, Plaintiffs note that “[d]espite such confirmation, Defendants Kimball
  and Doherty publicly proclaimed to the entire Ventura County community and national
  press that: a) said conduct constituted ‘Blackface’; b) Plaintiffs intentionally participated
  in and/or allowed ‘comedic performances of ‘blackness’ by whites in exaggerated
  costumes and makeup’; c) CLU intended to ‘call attention’ to the event to the entire
  Ventura County community – not just the CLU community; and d) ‘[t]hose who are
  responsible will be held accountable.’” (Id.) Plaintiffs further allege that “Defendants
  Kimball and Doherty in particular, allowed the Softball Team and their Coaches to be
  publicly shamed and harassed, placed in fear for their safety, be the subject of unabated
  ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           2
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 3 of 28 Page ID #:1003



                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:21-cv-01286-JLS-DFM                                     Date: August 29, 2022
  Title: Debby Day et al v. California Lutheran University et al

  racial slurs by other students in violation of CLU written policy, and to otherwise suffer
  lifelong injury to their mental health and reputations.” (Id. ¶ 6.)

          In the FAC, Plaintiffs detail the alleged harassment they received. For example,
  Plaintiffs allege that CLU sent two emails in February 2020 (on February 5 and February
  10) to the CLU community that caused a tense environment on campus. (See, e.g., FAC
  ¶ 106, Doc. 41; FAC Ex. 1 (February 5, 2020 email), Doc. 41-1; FAC Ex. 3 (February 10,
  2020 email), Doc. 41-3.) The emails described, among other things, the alleged racist
  incidents occurring on campus, and used the phrase “Blackface” in apparent reference to
  one of the incidents that occurred on campus. (See, e.g., FAC Ex. 1 (February 5, 2020
  email), Doc. 41-1; FAC Ex. 3 (February 10, 2020 email), Doc. 41-3.) Plaintiffs contend
  that the February 10 email “inflamed racial passions and anger on the CLU campus to
  such a degree that the [Black Student Union] organized an unauthorized campus ‘walk-
  out,’ whereat they demanded the expulsion of the entire Softball Team for being racists.”
  (FAC ¶ 106, Doc. 41.) Plaintiffs allege that “[t]he toxic, volatile, and substantially
  racially-charged environment on campus Defendants created had become so pervasive
  and dangerous that the members of the Softball program were made to fear for their own
  personal safety and well-being.” (Id. ¶ 111.)

          Due to the atmosphere on campus, in February 2020, “the Softball Team filed an
  Internal Student Grievance Complaint against several students and Defendant Kimball
  with the CLU administration.” (Id. ¶ 123.) The Softball Team noted that there were
  several violations of the CLU Student Handbook. (Id. ¶¶ 117-122.) As an example,
  Plaintiffs note that one student, a student senator, wrote the following message on social
  media: “@regals softball @callutheran O-M-[Statue of God]. Will you acknowledge
  those affected. yt voices with instagram accounts ARE NOT ‘being silenced.’” (Id.
  ¶ 115.) Plaintiffs allege that the message constitutes a hate crime under Section 18.0 of
  the CLU Student Handbook as “yt” is purportedly a slang word for “whitey”—an
  allegedly “derogatory term for Caucasians.” (Id. ¶ 116.) “CLU opened an investigation
  into said Internal Student Grievance Complaints approximately a month later in mid-
  ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           3
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 4 of 28 Page ID #:1004



                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:21-cv-01286-JLS-DFM                                      Date: August 29, 2022
  Title: Debby Day et al v. California Lutheran University et al

  March 2020.” (Id. ¶ 123.) Plaintiffs allege that “CLU waited until late into the following
  fall semester to inform Plaintiffs that CLU closed said investigation finding no violations
  of the Handbook.” (Id.)

          Plaintiff Day, who headed the CLU Softball Program, alleges that CLU falsely
  accused the Softball Team of engaging in a Blackface event because she questioned “the
  potentially unlawful Title IX practices at CLU, in addition to other NCAA violations.”
  (Id. ¶ 243.) Specifically, Plaintiff Day notes that in or around February 2019, she noticed
  that the Softball Team was scheduled for only one day per week with CLU’s strength and
  conditioning coaches whereas another sports team had more days. (Id. ¶ 42.) According
  to Coach Day, this scheduling “was a potential violation . . . of the NCAA Division III
  Bylaws.” (Id. ¶ 43.) Plaintiff Day alleges she reported the potential violations to
  Defendant Jim McHugh, the Associate Vice President of CLU, who disagreed with
  Plaintiff Day’s allegations. (Id. ¶ 45-46.) She alleges that in retaliation, Defendant
  McHugh denied the Softball Team “access to strength training during their off-season in
  the fall.” (Id. ¶ 51.) Plaintiff Day also alleges that she met with an individual named
  Kuntz regarding, among other things, CLU’s disparate treatment of the Softball Team
  compared to CLU’s baseball program for men. (Id. ¶ 53.)

          As a result of Defendants’ conduct, Plaintiffs bring the following claims:
  (1) breach of contract based on Defendants’ breach of the CLU Student Handbook; (2)
  slander; (3) libel; (4) false light; (5) intentional infliction of emotional distress; (6)
  negligent infliction of emotional distress; (7) negligence; (8) violation of Title IX; (9)
  retaliation; (10) hostile work environment; (11) constructive termination; (12) a Private
  Attorney General Action; and (13) violation of Business and Professions Code § 17200.
  (Id. ¶¶ 137-291.)

         Prior to filing the instant FAC, Plaintiffs filed their original complaint asserting
  the above claims on July 27, 2021. (Compl., Doc. 1.) Therefore, under Federal Rule of
  Civil Procedure 4(m), Plaintiffs were required to serve the complaint on Defendants by
  ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           4
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 5 of 28 Page ID #:1005



                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:21-cv-01286-JLS-DFM                                    Date: August 29, 2022
  Title: Debby Day et al v. California Lutheran University et al

  October 27, 2021. See Fed. R. Civ. P. 4(m) (providing, among other things, that a
  plaintiff must serve the defendant within ninety days of filing the complaint). However,
  there were no indications on the docket that Defendants were timely served.
  Accordingly, on October 29, 2021, this Court issued an order to show cause regarding
  dismissal for lack of prosecution. (OSC, Doc. 20.) As an alternative to a written
  response, the Court noted that it would consider proof of service of the complaint as an
  appropriate response. (Id. at 1.)

         In response to the Court’s OSC, Plaintiffs’ counsel filed proofs of service and a
  declaration attesting that the process server “completed service of process of all
  defendants on day 92.” (Proofs of Service, Docs. 24-27; Declaration of Michael J. Saltz
  ¶ 4, Doc. 28.) As an explanation for the untimely service, Mr. Saltz, Plaintiffs’ attorney,
  attested that his office attempted to locate the residential addresses for the individual
  defendants and before receiving notice that he had incorrect addresses, he took a
  temporary leave of absence due to family medical issues. (Declaration of Michael J.
  Saltz ¶¶ 3-4, Doc. 28.) Mr. Saltz attested that he “returned to work three weeks into
  October” and instructed the process server “to attempt service upon all defendants at
  California Lutheran University within the 90 day period.” (Id. ¶ 4.) Plaintiffs’ counsel
  requested that “the process server ask whomever they find at California Lutheran
  University that is authorized to accept service if they would also be authorized to accept
  service for the individual Defendants, as all of said individual Defendants are or were
  employees of California Lutheran University.” (Declaration of Elana R. Levine ¶ 8, Doc.
  68-1.) The process server attested that service was completed “on day 92.” (Michael J.
  Saltz ¶¶ 3-4, Doc. 28.)

        However, the process server left the summons and complaints for all the named
  defendants (including defendants named in their individual capacity) with Ms. Norma
  Meza, a secretary at CLU—a person not authorized to receive service on behalf of
  Defendants. (See, e.g., Declaration of Melissa Maxwell-Doherty ¶¶ 4-5, Doc. 58-12.)
  Ms. Meza was the executive assistant to Defendant CLU’s registered agent for service of
  ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           5
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 6 of 28 Page ID #:1006



                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:21-cv-01286-JLS-DFM                                    Date: August 29, 2022
  Title: Debby Day et al v. California Lutheran University et al

  process. (Declaration of Elana R. Levine ¶ 15, Doc. 68-1.) According to the process
  server, Ms. Meza represented that she was authorized to accept service on behalf of all
  Defendants and that “she would make sure that she would give them to the proper
  people.” (Declaration of Ronald R. Rezac ¶¶ 6-7, Doc. 68-5.) Ms. Meza, on the other
  hand, contends that she made no such representations. (See Declaration of Norma Meza,
  Doc. 58-13.) On or around October 29, 2021, Plaintiffs’ counsel learned that CLU no
  longer employed Jim McHugh. (Declaration of Elana R. Levine ¶ 17, Doc. 68-1.)
  Accordingly, Plaintiffs’ counsel “subsequently effectuated personal service of the
  original summons and complaint upon Mr. McHugh at an additional expense on
  November 9, 2021 at a different address.” (Id.) Defendants note that “Mr. McHugh is
  now the only Defendant who has been personally served with the summons and
  Complaint, albeit ineffectively late in light of applicable deadlines.” (Mem. at 10, Doc.
  58-1.)

        On December 31, 2021, Plaintiffs filed the instant FAC against Defendants.
  (FAC, Doc. 41.) The parties do not dispute that Plaintiffs properly effectuated service of
  the FAC upon all Defendants.

  II.    LEGAL STANDARD

         A.      Rule 12(b)(5)

          “Before a federal court may exercise personal jurisdiction over a defendant, the
  procedural requirement of service of summons must be satisfied.” Omni Capital Int’l,
  Ltd. v. Rudolf Wolff & Co., Ltd., 484 U.S. 97, 104 (1987). Under Federal Rule of Civil
  Procedure 12(b)(5), a party may move to dismiss for insufficient service of process. Fed.
  R. Civ. P. 12(b)(5). “Once service is challenged, plaintiffs bear the burden of
  establishing that service was valid.” Brockmeyer v. May, 383 F.3d 798, 801 (9th Cir.
  2004).


  ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           6
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 7 of 28 Page ID #:1007



                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:21-cv-01286-JLS-DFM                                       Date: August 29, 2022
  Title: Debby Day et al v. California Lutheran University et al

         B.      Rule 12(b)(6)

         In deciding a motion to dismiss under Rule 12(b)(6), courts must accept as true all
  “well-pleaded factual allegations” in a complaint. Ashcroft v. Iqbal, 556 U.S. 662, 679,
  129 S.Ct. 1937, 173 L.Ed.2d 868 (2009). Furthermore, courts must draw all reasonable
  inferences in the light most favorable to the non-moving party. See Daniels-Hall v. Nat’l
  Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010). However, “courts ‘are not bound to
  accept as true a legal conclusion couched as a factual allegation.’” Bell Atl. Corp. v.
  Twombly, 550 U.S. 544, 555 (2007). The complaint must contain “sufficient factual
  matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Iqbal,
  556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). “A claim has facial plausibility
  when the pleaded factual content allows the court to draw the reasonable inference that
  the defendant is liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at
  556).

          Although a complaint “does not need detailed factual allegations,” the “[f]actual
  allegations must be enough to raise a right to relief above the speculative level[.]”
  Twombly, 550 U.S. at 555. Thus, a complaint must (1) “contain sufficient allegations of
  underlying facts to give fair notice and to enable the opposing party to defend itself
  effectively[,]” and (2) “plausibly suggest an entitlement to relief, such that it is not unfair
  to require the opposing party to be subjected to the expense of discovery and continued
  litigation.” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011).

  III.   DISCUSSION

        Defendants seek to dismiss Plaintiffs’ FAC on various grounds. The Court
  addresses those grounds below.




  ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           7
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 8 of 28 Page ID #:1008



                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:21-cv-01286-JLS-DFM                                         Date: August 29, 2022
  Title: Debby Day et al v. California Lutheran University et al

         A.      Whether Plaintiffs’ FAC Should Be Dismissed for Untimely Service

          Defendants argue that Plaintiffs’ FAC should be dismissed as to Defendants CLU,
  Kimball, Maxwell-Doherty, McHugh for lack of proper service. Rule 4(m) requires that a
  plaintiff serve a defendant “within 90 days after the complaint is filed.” Fed. R. Civ. P.
  4(m). Rule 4(m), however, provides two avenues for relief. “The first is mandatory: the
  district court must extend time for service upon a showing of good cause.” Lemoge v.
  United States, 587 F.3d 1188, 1198 (9th Cir. 2009). “The second is discretionary: if good
  cause is not established, the district court may extend time for service upon a showing of
  excusable neglect.” Id. As to the second avenue, “[d]istrict courts have broad discretion
  to extend time for service under Rule 4(m).” Efaw v. Williams, 473 F.3d 1038, 1041 (9th
  Cir. 2007). “In making extension decisions under Rule 4(m) a district court may consider
  factors like a statute of limitations bar, prejudice to the defendant, actual notice of a lawsuit,
  and eventual service.” Id.; see also Lemoge, 587 F.3d at 1191-98 (analyzing the excusable
  neglect standard in the context of a Rule 60(b)(1) challenge to a district court’s denial to
  extend time to serve the complaint and noting that courts should consider “at least four
  factors: (1) the danger of prejudice to the opposing party; (2) the length of the delay and
  its potential impact on the proceedings; (3) the reason for the delay; and (4) whether the
  movant acted in good faith” (internal quotation marks omitted)).

         Here, the Court finds that an extension is appropriate. As an initial matter, the
  Court notes that service was not timely or properly effectuated on Defendants. Nor do
  Plaintiffs’ filings demonstrate good cause for failing to effectuate service. While the
  Court is cognizant that Mr. Saltz had to take a leave of absence due to his wife’s health
  diagnosis, Plaintiffs do not explain why no one else from Mr. Saltz’s office, such as his
  co-counsel in this matter, could timely effectuate service.

          Nonetheless, the Court concludes that an extension of time to serve the complaint
  is the most equitable outcome. Defendants have not demonstrated, let alone argued, that
  they suffered any prejudice from an extension. (See Mem. at 14-15, Doc. 58-1); see also
  ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           8
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 9 of 28 Page ID #:1009



                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:21-cv-01286-JLS-DFM                                        Date: August 29, 2022
  Title: Debby Day et al v. California Lutheran University et al

  Lemoge, 587 F.3d at 1196 (“Prejudice requires greater harm than simply that relief would
  delay resolution of the case.”). Indeed, there are no arguments that an extension has
  resulted in the loss of evidence. Cf. Efaw, 473 F.3d at 1040 (concluding that a seven-year
  delay in service prejudiced the defendant because “the memories of all witnesses faded,”
  “the only other eyewitness to the incident[ ] died,” and “[n]either party deposed [the
  eyewitness] before his death”). In contrast, the prejudice suffered by Plaintiffs by a
  dismissal of their Complaint would be significant including because several of Plaintiffs’
  claims would be time-barred—a fact both parties acknowledge. (Opp. at 7, Doc. 68;
  Reply at 9, Doc. 69.) Moreover, there is no evidence that Plaintiffs “acted with anything
  less than good faith,” as the evidence illustrates that the errors “resulted from negligence
  and carelessness, not from deviousness or willfulness.” Lemoge, 587 F.3d at 1197.

         Accordingly, the Court rejects Defendants’ request that this Court dismiss
  Plaintiffs’ complaint for failure to effectuate timely service. 2

         B.      Breach of Contract Claim (First Cause of Action)

          Defendants argue that the Softball Team has failed to state a breach of contract
  claim against CLU. (Mem. at 17-21, Doc. 58-1.) “California courts have characterized
  the relationship between students and universities—including the terms of that
  relationship described in student handbooks—as essentially contractual, but have
  cautioned that contract law should not [necessarily] be strictly applied.” Karimi v.
  Golden Gate Sch. of L., 361 F. Supp. 3d 956, 974 (N.D. Cal. 2019), aff’d, 796 F. App’x
  462 (9th Cir. 2020) (internal quotation marks omitted). For example, California courts
  “have been reluctant to apply contract law to general promises or expectations.” Id.
  (internal quotation marks omitted). Moreover, courts have also been reluctant to apply

         2
            Defendants argue that Plaintiffs’ defamation claims (Second through Fourth Causes of
  Action) should be dismissed because if Plaintiffs were to refile their Complaint, the defamation
  claims would be barred. (Mem. at 16, Doc. 58-1.) As the Court rejected Defendants’ request
  that the Complaint be barred on service grounds, the Court rejects Defendants’ argument here.
  ______________________________________________________________________________
                                CIVIL MINUTES – GENERAL                                        9
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 10 of 28 Page ID #:1010



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                     Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

   contract law to a “universities’ academic and disciplinary decisions.” Kashmiri v.
   Regents of Univ. of California, 156 Cal. App. 4th 809, 824-25 (2007). This is because of
   the “lack of a satisfactory standard of care by which to evaluate these decisions.” Id. at
   826. However, courts have “not been hesitant to apply contract law when the educational
   institution makes a specific promise to provide an educational service, such as a failure to
   offer any classes or a failure to deliver a promised number of hours of instruction”
   recognizing that an objective standard can be applied in such instances. Id. To state a
   claim for breach of contract, the Softball Team must show: “(1) the existence of the
   contract; (2) plaintiff’s performance or excuse for nonperformance; (3) defendant’s
   breach; and (4) the resulting damages to plaintiff.” Oasis W. Realty, LLC v. Goldman, 51
   Cal. 4th 811, 821 (Cal. 2011).

          Here, the Court finds that Plaintiffs have not plausibly alleged a breach of contract
   claim against CLU. As an initial matter, the Court acknowledges that certain promises in
   a Handbook can form the basis of a breach of contract claim. In their FAC, Plaintiffs
   note that “the 2019-2020 Student Handbook … is one of the primary documents that
   spells out the contractual relationship” between CLU and the Softball Players. (FAC
   ¶ 139, Doc. 41.) Indeed, the Handbook provides that “upon admission, readmission, or
   continued enrollment with California Lutheran University,” students are bound by the
   policies in the handbook. (Mot. Ex. E (2019-2020 Student Handbook), Doc. 58-7.)
   Moreover, Plaintiffs allege that they entered into the contract with CLU when they
   enrolled at CLU and paid tuition to CLU. (See, e.g., FAC ¶ 141, Doc. 41.)

          However, Plaintiffs have not sufficiently alleged facts to show that CLU breached
   any specific promises contained in the Handbook. Plaintiffs allege that CLU breached
   the Handbook “by engaging in harassing behavior in violation of the terms of the
   Handbook, and otherwise letting others violate the Handbook with regard to conduct
   directed at the Softball Team.” (FAC ¶ 147, Doc. 41.) The Handbook defines
   “Harassment” as certain “unwelcome behavior” directed at a student because of their
   membership in a protected group. (Mot. Ex. E (2019-2020 Student Handbook) at 47-48,
   ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           10
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 11 of 28 Page ID #:1011



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                    Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

   Doc. 58-7.) The Handbook further provides that “no form of harassment will be tolerated
   at California Lutheran University,” and that upon receiving a report of harassment,
   certain university officials are “obligated to take action in order to provide a safe
   nondiscriminatory environment for all.” (Id. at 48.) Plaintiffs seem to argue that CLU’s
   response to the Softball Team incident (e.g., sending the two February 2020 emails)
   constituted harassment under the Handbook. (See, e.g., FAC ¶¶ 75, 147, Doc. 41.) To
   the extent that the Handbook language can be construed as sufficiently definite to
   constitute a contractual promise, Plaintiffs have alleged no facts in the FAC to show that
   the CLU’s response to the Softball Team incident was harassment as defined in the
   Handbook.

           Plaintiffs also argue that CLU breached the Handbook by “letting others violate
   the Handbook with regard to conduct directed at the Softball Team.” (Id. ¶ 147.)
   Specifically, Plaintiffs allege that CLU breached the Handbook by “permitting hate
   crimes and harassment on campus; permitting cyberbullying; . . . and failing to timely
   investigate complaints.” (Id. ¶ 149.) However, assuming without deciding that Plaintiffs
   have even identified a “Hate Crime” as that is defined in the Handbook, the Handbook
   provides that “[w]here the alleged offender of a hate crime or hate incident is a student,
   the matter will be handled in a manner consistent with the Standards of Conduct.” (Mot.
   Ex. E (2019-2020 Student Handbook) at 51, Doc. 58-7.) The Standards of Conduct itself
   provide that “staff members in Student Conduct, in conjunction with the faculty,
   administrators, and students who serve on the University Hearing Board, are committed”
   to, among other things, resolving “conduct cases with fundamental fairness and in a
   timely, and socially just manner that balances the needs of both the individual and the Cal
   Lutheran community.” (Id. at 34.) The Standards further provide that violations “may
   result in disciplinary actions and sanctions,” as Plaintiffs themselves note in their FAC.
   (Id. at 35; FAC ¶ 144, Doc. 41.) Plaintiffs recognize that CLU did investigate the
   student’s actions. (FAC ¶143, Doc. 41.) Moreover, Plaintiffs fail to adequately allege
   how CLU’s decision to not discipline another student, which is permitted by the
   Standards of Conduct, establishes a breach of contract. Indeed, this is an area where
   ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           11
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 12 of 28 Page ID #:1012



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                    Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

   Courts should tread lightly in deciding whether to apply traditional contract law to
   disciplinary decisions.

          Lastly, Plaintiffs allege that Defendants breached the Handbook by “de facto
   punishing DOES 1-24 without affording them the right to due process.” (Id. ¶ 150.)
   However, Plaintiffs cite to no language in the Handbook to support their claim, and
   therefore it is insufficiently pleaded.

          Accordingly, the Breach of Contract claim (First Cause of Action) is DISMISSED
   with leave to amend.

          C.      Slander and Libel Claims (Second and Third Causes of Action)

           Defendants next argue that Plaintiffs have failed to state a slander or libel claim
   under California law. (Mem. at 21-25, Doc. 58-1.) Defamation is an injury to one’s
   reputation by either a writing (libel) or a spoken communication (slander). See, e.g.,
   Shively v. Bozanich, 31 Cal. 4th 1230, 1242 (2003). To allege defamation, a plaintiff
   must show “(a) a publication that is (b) false, (c) defamatory, and (d) unprivileged, and
   that (e) has a natural tendency to injure or that causes special damage.” Taus v. Loftus,
   40 Cal. 4th 683, 720 (2007) (internal quotation marks omitted). Plaintiffs base their
   slander claim on alleged “false oral statements” made during the February 8 Meeting and
   the February 13 Community Forum (FAC ¶¶ 154-57, Doc. 41), and their libel claim on
   the February 5 Email, the February 10 Email, and the “various statements made to news
   media sources” (Id. ¶ 157). Defendants argue that Plaintiffs’ defamation claims fail as
   “the common interest privilege requires dismissal of both the libel and slander claims
   and, further, the Softball Players libel claim must be dismissed because the February 5
   Email and the February 10 Email were not ‘of and concerning’ the Softball Players.”
   (Mem. at 21, Doc. 58-1.)



   ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           12
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 13 of 28 Page ID #:1013



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                     Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

           As an initial matter, the Court rejects Defendants’ arguments that no third party
   could reasonably view the February 5 and February 10 emails as “‘of and concerning’ the
   Softball Players.” (Id.) To be sure, “[i]f there is no express reference to the plaintiff in
   a defamatory statement, the claim will fail unless the statement refers to the plaintiff by
   reasonable implication.” SDV/ACCI, Inc. v. AT & T Corp., 522 F.3d 955, 959 (9th Cir.
   2008). However, Plaintiffs have sufficiently alleged facts, at this stage, to show a third-
   party could have reasonably understood the emails to refer to the Softball Team. For
   example, the February 5 and February 10 emails referred to the “Blackface” incident—an
   incident that occurred (and was posted on social media) within close temporal proximity
   to the date the emails were sent. A third party could reasonably infer that the emails
   referred to the Softball Team—especially by February 10, when the incident had grown
   in notoriety across campus. Indeed, Plaintiffs note, for example, that “a CLU student
   governing body confirmed on social media that” the “February 5 email was referring to
   the CLU Softball Team.” (FAC ¶ 78, Doc. 41.)

           The Court also rejects Defendants’ claim that the common interest privilege
   requires dismissal of Plaintiffs’ defamation claims. Under California law, Civil Code
   Section 47(c) “extends a conditional privilege against defamation to communications
   made without malice on subjects of mutual interest.” Bierbower v. FHP, Inc., 70 Cal.
   App. 4th 1, 3 (1999); Cal. Civ. Code § 47(c) (the privilege applies to “a communication,
   without malice, to a person interested therein, (1) by one who is also interested, or (2) by
   one who stands in such a relation to the person interested as to afford a reasonable ground
   for supposing the motive for the communication to be innocent, or (3) who is requested
   by the person interested to give the information.”) For purposes of assessing whether the
   common interest privilege applies, “malice has been defined as a state of mind arising
   from hatred or ill will, evidencing a willingness to vex, annoy or injure another person.”
   Lundquist v. Reusser, 7 Cal. 4th 1193, 1204 (1994). Here, Plaintiffs allege that the
   statements were made with malice because, among other things, “CLU and its agents
   perpetuated a false ‘blackface’ event, and otherwise completely mishandled said event in
   part to retaliate against Coach Day for reporting the potential Title IX violation.” (FAC
   ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           13
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 14 of 28 Page ID #:1014



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                        Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

   ¶ 214, Doc. 41.) Plaintiffs have pleaded sufficient facts to support a reasonable inference
   that at least some of the statements at issue were offered in bad faith and with some
   awareness that they were not truthful. For example, Defendant Kimball wrote in his
   February 5, 2020 email to CLU students that “two racist incidents … occurred in the last
   week,” and “blackface and the N-word evoke white supremacy, anti-blackness and
   remind us that a violent, racist past is still with us today.” (Id. ¶ 170; FAC Ex. 1
   (February 5, 2020 email), Doc. 41-1.) In a February 7, 2020 meeting with the Softball
   Team and their parents and coaches, however, Defendant Kimball stated that he
   understood the Softball Team’s claims that they were not racist and told them: “Just
   saying, in my heart, I believe that.” (FAC ¶ 173, Doc. 41.) Yet in his February 10, 2020
   email, Defendant Kimball characterized the same conduct as “performances in which
   there were exaggerated characterizations of black people and culture” and defended
   CLU’s use of the term “blackface” to refer to the performances. (Id. ¶¶ 96-98; FAC Ex.
   3 (February 10, 2020 email), Doc. 41-3.) Taking these allegations as true and drawing
   reasonable inferences in Plaintiffs’ favor, that Defendant Kimball knowingly
   misattributed reprehensible conduct to the Softball Team in his statements to the CLU
   community is plausible. 3

         For these reasons, the Court finds that at this stage Plaintiffs’ Slander (Second
   Cause of Action) and Libel (Third Cause of Action) claims survive.

          D.      False Light Claim (Fourth Cause of Action)

          Defendants argue that Plaintiffs’ False Light Claim fails for the same reasons as
   the Slander and Libel claims. “When a false light claim is coupled with a defamation
   claim, the false light claim is essentially superfluous, and stands or falls on whether it

          3
            Additionally, the Court notes that Defendants did not move to dismiss the defamation
   claims on the ground that they contain no provably false statement of fact; nor did they move to
   dismiss Plaintiff Day’s Title IX claim, which alleges that the purpose of these allegedly
   defamatory communications was retaliatory.
   ______________________________________________________________________________
                                  CIVIL MINUTES – GENERAL                                     14
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 15 of 28 Page ID #:1015



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                        Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

   meets the same requirements as the defamation cause of action.” Eisenberg v. Alameda
   Newspapers, Inc., 74 Cal. App. 4th 1359, 1385 (1999). As the Court finds that Plaintiffs’
   Slander and Libel claims survive the pleading stage, the Court denies Defendants’ request
   to dismiss the False Light Claim (Fourth Cause of Action).

          E.      Intentional Infliction of Emotional Distress Claim (Fifth Cause of
                  Action)

           Defendants argue that Plaintiffs’ intentional infliction of emotional distress claim
   fails because “the Softball Players have not, and cannot, show that Defendants engaged in
   ‘outrageous conduct’ or that any Plaintiffs experienced ‘severe emotional suffering’ as a
   result.” (Id. at 25.) “To plead a claim for intentional infliction of emotional distress, a
   plaintiff must plead facts to establish 1) extreme and outrageous conduct by the defendant
   with the intent to cause, or reckless disregard for the probability of causing, emotional
   distress; 2) suffering of severe or extreme emotional distress by the plaintiff; and 3) [that]
   the plaintiff’s emotional distress is actually and proximately the result of the defendant’s
   outrageous conduct.” Wassman v. City of Dana Point, 2018 WL 5906346, at *6 (C.D.
   Cal. July 2, 2018) (Staton, J.) (internal quotation marks omitted). “To be outrageous,
   conduct must be so extreme as to exceed all bounds of that usually tolerated in a civilized
   community.” Id. (internal quotation marks omitted). As to the requirement that the
   plaintiff show severe emotional distress, the California Supreme Court has set a “high
   bar,” requiring “emotional distress of such substantial quality or enduring quality that no
   reasonable person in civilized society should be expected to endure it.” Hughes v. Pair,
   46 Cal. 4th 1035, 1051 (2009) (quoting Potter v. Firestone Tire & Rubber Co., 6 Cal. 4th
   965, 1004 (1993)). Generally, “discomfort, worry, anxiety, upset stomach, concern, and
   agitation” will not comprise severe emotional distress. Hughes, 46 Cal. 4th at 1051.

           Here, Plaintiffs fail to state an intentional infliction of emotional distress claim in
   several respects. First, the purportedly outrageous conduct by Defendants that Plaintiffs
   allege is not “so extreme as to exceed all bounds of that usually tolerated in a civilized

   ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           15
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 16 of 28 Page ID #:1016



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                     Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

   community.” Plaintiffs allege that Defendants engaged in outrageous conduct because
   they falsely accused “the Softball Team of engaging in ‘Blackface,’ and publicly
   confirming to the entire CLU community that the Softball team had engaged in such
   conduct” causing “them severe emotional distress.” (FAC ¶ 214, Doc. 41.) As support,
   Plaintiffs point to the February 5 Kimball email, February 8 meeting, February 10 email,
   and the February 13 Community Forum as acts of outrageous conduct. (Id. ¶¶ 212, 214.)
   Regardless of their effect, these actions do not constitute conduct “so extreme as to
   exceed all bounds of that usually tolerated in a civilized community.” Wassman, 2018
   WL 5906346, at *6.

           Second, Plaintiffs’ allegations of the Softball Team’s collective emotional distress
   lack specificity and are impermissibly overbroad. Plaintiffs present several “impact
   statements” from different members of the Softball Team alleging various types of
   distress, including “[c]onstant anxiety”, “panic,” “lonel[iness]”, a feeling of being
   “targeted”, being “sick to [one’s] stomach”, “loss of appetite,” insomnia, loss of focus,
   and “cry[ing].” (FAC ¶ 127 n.26, Doc. 41.) Plaintiffs do not allege that any individual
   person suffered all of the listed conditions. Some of the impact statements allege distress
   that does not rise to the requisite severity. For example, one of the statements mentions a
   feeling of nausea that “turned to anxiety” that persisted “for days,” along with an inability
   to focus and “fear of my future at work and future career.” (Id.) Such distress is not “of
   such substantial quality or enduring quality that no reasonable person in civilized society
   should be expected to endure it.” Plaintiffs also allege, overbroadly, that “a majority of
   Plaintiffs … vomited, cried uncontrollably, lost sleep, lost weight, have been unable to
   focus on their studies, and have been made to feel isolated,” (Id. ¶ 128), and that “most of
   the Softball Players have stated that they are now on medication for their depression,
   anxiety, and PTSD, and that some otherwise submitted themselves to the care of medical
   professions[.]” (Id.) Even if the Court accepts Plaintiffs’ allegations as true, it appears
   that at least some members of the Softball Team did not suffer severe emotional distress.



   ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           16
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 17 of 28 Page ID #:1017



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                          Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

          The Softball Team cannot claim severe emotional distress collectively, and less
   distressed Plaintiffs cannot state a claim based on their teammates’ more acute
   conditions. 4 Such allegations of collective severe emotional distress among Softball
   Team members are improper “shotgun pleading” of the sort that “overwhelm[s]
   defendants with an unclear mass of allegations and make it difficult or impossible for
   [them] to make informed responses.” Prostitis v. Riverside Superior Fam. L. Ct., 2020
   WL 3843727, at *2 (C.D. Cal. Apr. 15, 2020), report and recommendation adopted, 2020
   WL 6450288 (C.D. Cal. Nov. 3, 2020) (citation and quotation marks omitted). As
   currently pleaded, Plaintiffs’ allegations do not provide sufficient clarity about how many
   and which members of the Softball Team suffered from conditions rising to severe
   emotional distress. General, overbroad allegations of this sort cannot provide a defendant
   with adequate notice of their potential liability.

          Accordingly, Plaintiffs’ Intentional Infliction of Emotional Distress (Fifth Cause
   of Action) claim is DISMISSED with leave to amend.

          F.      Negligent Infliction of Emotional Distress and Negligence Claims (Sixth
                  and Seventh Causes of Action)

          Defendants seek to dismiss Plaintiffs’ negligence-based claims on the theory that
   Plaintiffs have failed to allege that CLU owed them a duty of care let alone a breach of
   that duty. (Mem. at 29, Doc. 58-1.) The California Supreme Court has held that
   “postsecondary schools do have a special relationship with students while they are
   engaged in activities that are part of the school’s curriculum or closely related to its

          4
            The Court notes that Plaintiffs’ SAC attributes each impact statement to a named
   member of the Softball Team. (SAC ¶ 127 n.26, Doc. 78.) Matching each impact statement with
   a now-named individual Plaintiff is insufficient to remedy the Court’s concerns with the Softball
   Team’s claim of collective distress, however. Even if each statement is attributed to a particular
   named Plaintiff, it remains the case that at least some members of the Softball Team did not
   suffer extreme emotional distress, so the collective claim is deficient for the reasons outlined in
   this Order.
   ______________________________________________________________________________
                                 CIVIL MINUTES – GENERAL                                          17
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 18 of 28 Page ID #:1018



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                       Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

   delivery of educational services.” Regents of Univ. of California v. Superior Ct., 4 Cal.
   5th 607, 625 (2018). The California Supreme Court recognized that “[s]tudents are
   comparatively vulnerable and dependent on their colleges for a safe environment” and
   that “[c]olleges have a superior ability to provide that safety with respect to activities they
   sponsor or facilities they control.” Id. at 626. However, the California Supreme Court
   has noted that this special relationship extends only “to activities that are tied to the
   school’s curriculum but not to student behavior over which the university has no
   significant degree of control.” Id. at 669.

           Here, Plaintiffs have not alleged a breach of that duty of care. In the FAC,
   Plaintiffs allege that CLU owed them a duty of care “to act as a normal and prudent
   university, and to otherwise not engage in conduct that they know, or with reasonable
   care should know, will cause their students undue harm and severe emotional distress.”
   (FAC ¶ 228, Doc. 41.) However, Plaintiffs do not plead the conduct that supposedly
   breached that duty of care. Plaintiffs merely alleged that CLU breached the duty “by
   engaging in the aforementioned conduct.” (Id. ¶ 229.) Given the length of the complaint
   and its hundreds of allegations, the Court treats this allegation as another instance of
   “shotgun pleading.” Plaintiffs are required to identify specifically the conduct they claim
   amounts to a breach of the duty of care.

        Accordingly, the Sixth Cause of Action and the Seventh Cause of Action are
   DISMISSED with leave to amend.

          G.      Plaintiff Day’s Retaliation Claim (Ninth Cause of Action)

          Plaintiff Day alleges that Defendants retaliated against her for “questioning the
   potentially unlawful Title IX practices at CLU, in addition to other NCAA violations” in
   violation of Section 1102.5 of the California Labor Code and California’s Fair
   Employment and Housing Act (“FEHA”). (FAC ¶ 243.) Section 1102.5 of the
   California Labor Code “provides whistleblower protections to employees who disclose
   wrongdoing to authorities” and specifically violations of a local, state, or federal
   ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           18
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 19 of 28 Page ID #:1019



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                      Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

   regulation. Lawson v. PPG Architectural Finishes, Inc., 12 Cal. 5th 703, 709 (2022).
   Under the FEHA, it is unlawful for an employer “to discharge, expel, or otherwise
   discriminate against any person because the person has opposed any practices forbidden
   under this part or because the person has filed a complaint, testified, or assisted in any
   proceeding under this part.” Cal. Gov. Code § 12940(h). To establish a prima facie case
   of retaliation under both sections, a plaintiff must allege that “(1) he or she engaged in a
   ‘protected activity,’ (2) the employer subjected the employee to an adverse employment
   action, and (3) a causal link existed between the protected activity and the employer’s
   action.” See, e.g., Scotch v. Art Inst. of California, 173 Cal. App. 4th 986, 1020 (2009)
   (FEHA); McVeigh v. Recology San Francisco, 213 Cal. App. 4th 443, 468 (2013) (Cal.
   Lab. Code § 1102.5).

           The scope of what constitutes a protected activity under these statutes is different,
   however. On one hand, Section 1102.5 requires that a plaintiff show that she reported a
   violation of a local, state, or federal rule or regulation. Cal. Lab. Code § 1102.5. It is a
   whistleblower statute, and as part of a prima facie claim for Section 1102.5 retaliation, a
   plaintiff must show that “the employer fired [her] for reporting [her] ‘reasonably based
   suspicions’ of illegal activity.” Green v. Ralee Eng’g Co., 19 Cal. 4th 66, 87 (1998).
   FEHA, on the other hand, provides a cause of action for, among other things, “retaliation
   for opposing discriminatory practices against employers and employment agencies.”
   Krantz v. Bloomberg L.P., 2021 WL 8821422, at *3 (C.D. Cal. Dec. 1, 2021). No
   reasonable suspicion of actual illegality is necessary under FEHA.

           As to Section 1102.5, the Court finds that Plaintiff Day has failed to state a
   retaliation claim under Section 1102.5. Here, the allegations are inconsistent or, at the
   very least, confusing. On one hand, Plaintiff Day alleges that she reported that certain
   activities violated NCAA bylaws, though not necessarily Title IX. (See, e.g., FAC ¶ 49
   (“Coach Day submitted a document to CLU Human Resources dated August 22, 2019
   entitled ‘CLU Strength and Conditioning Concerns.’ Said document outlined that: CLU
   was potentially in violation of NCAA Division III rules with regard to how CLU has

   ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           19
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 20 of 28 Page ID #:1020



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                       Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

   been providing strength and conditioning training to CLU athletes, and that Coach Day
   felt like she was being targeted for retaliation for raising these concerns.’”); id. ¶ 52
   (“Coach Day never said that the Softball Team was denied access to strength and
   conditioning based on gender, but rather based on favoritism of certain athletic programs
   over others rather than need, and in a manner than violated NCAA bylaws – not
   necessarily Title IX.”), Doc. 41) On the other hand, the complaint elsewhere refers
   broadly to “Coach Day’s reports of potential NCAA and Title IX violations.” (See, e.g.,
   id. ¶ 243) Violations of NCAA bylaws do not necessarily establish violations of a local,
   state, or federal law or regulation. Generously read, the complaint indicates that Plaintiff
   Day had some concern about gender disparities, but does not allege that she had a
   reasonable suspicion that CLU had violated Title IX. Without more as to how the alleged
   violations amount to a local, state, or federal violation, Plaintiff Day’s Section 1102.5
   claim fails.

           As to FEHA, however, the Court finds that Plaintiff Day’s retaliation claim is
   sufficiently pleaded. Plaintiff Day alleges that she reported to CLU discriminatory
   practices as to the treatment of the Softball Team as compared to other programs on
   campus, and that the disparate treatment may have been based on gender. (See FAC
   ¶¶ 49-64, Doc. 41.) As pleaded, Plaintiff Day’s actions can be interpreted as opposing
   discriminatory practices, even if she did not report any illegal activity. Plaintiff Day
   further alleges that CLU thereafter began excluding her from certain meetings and
   programs. (See, e.g., id. ¶ 243.) The Court finds that the FEHA retaliation claim is
   therefore adequately pleaded, and that Defendants’ arguments regarding the necessary
   causal link are fact-based and therefore better addressed at a later stage of the litigation.

          H.      Plaintiffs Day, Young, and Gluckman’s Hostile Work Environment
                  Claim (based on violations of the FEHA) (Tenth Cause of Action)

          “[T]he FEHA makes the employer strictly liable for harassment by a supervisor.”
   Zhu v. Spirent, 2015 WL 13915192, at *13 (C.D. Cal. Feb. 11, 2015) (Staton, J.) (internal
   quotation marks omitted). “To state a claim for harassment, a plaintiff must demonstrate
   ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           20
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 21 of 28 Page ID #:1021



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                     Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

   that (1) plaintiff is a member of a protected group, (2) plaintiff was subjected to
   harassment because he belonged to this group, and (3) the alleged harassment was so
   severe that it created a hostile work environment.” Id. Plaintiffs allege that “the
   aforementioned conduct (including conduct directed at Plaintiffs Day, Young, and
   Gluckman) caused Plaintiffs Day, Young, and Gluckman to perceive their work
   environment as intimidating, hostile, abusive or offensive and created a hostile work
   environment based on their perceived race and/or ethnicity and/or in retaliation for
   exercising a lawful right.” (FAC ¶ 266, Doc. 41.) Plaintiffs’ conclusory allegations are
   insufficient to state a hostile work environment claim under the FEHA. As an initial
   matter, Plaintiffs do not allege, with any specificity, the purported wrongful conduct that
   “caused Coaches Day, Young, and Gluckman to perceive their work environment” as
   hostile. (Id.) Nor do Plaintiffs adequately allege, beyond conclusory allegations, that any
   purported wrongful conducted occurred because Plaintiffs Day, Young, and Gluckman
   were members of a protected group as defined under the FEHA or were exercising a right
   protected by FEHA.

        Accordingly, the Hostile Work Environment Claim (Tenth Cause of Action) is
   DISMISSED with leave to amend.

          I.      Plaintiffs Young and Gluckman’s Constructive Termination Claim
                  (based on violation of the FEHA) (Eleventh Cause of Action)

           To sufficiently allege a constructive termination claim in violation of FEHA, a
   plaintiff, must show, among other things, that the wrongful conduct occurred because of”
   that plaintiff’s protected status under FEHA or because they were exercising a right
   protected by FEHA. Cal. Gov. Code § 12940(a); Arteaga v. Brink’s, Inc., 163 Cal. App.
   4th 327, 344 (2008) (“The FEHA addresses discrimination . . . . [It] is not a shield against
   harsh treatment at the workplace.”). Here, Plaintiffs attempt to allege a constructive
   termination claim in violation of public policy based on the FEHA. (FAC ¶ 273, Doc.
   41.) Plaintiffs allege that Plaintiffs Young and Gluckman were constructively terminated

   ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           21
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 22 of 28 Page ID #:1022



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                      Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

   due to Defendants’ alleged misconduct; however, Plaintiffs do not allege that the
   misconduct occurred because Plaintiffs Young and Gluckman purportedly belonged to a
   protected group under FEHA or because they opposed any practices prohibited under
   FEHA. See City of Moorpark v. Superior Ct., 18 Cal. 4th 1143, 1159, (1998) (“[W]hen
   the constitutional provision or statute articulating a public policy also includes certain
   substantive limitations in scope or remedy, these limitations also circumscribe the
   common law wrongful discharge cause of action.”).

           Therefore, the Eleventh Cause of Action is DISMISSED with leave to amend.

          J.      Plaintiffs’ Private Attorney General Action Claim (Twelfth Cause of
                  Action)

           The Court declines to consider Defendant’s arguments as to Plaintiff’s PAGA
   claims until Plaintiffs have sufficiently alleged subject-matter jurisdiction over the
   claims. “[I]n any civil action of which the district courts have original jurisdiction, the
   district courts shall have supplemental jurisdiction over all other claims that are so related
   to the claims in the action within such original jurisdiction that they form part of the same
   case or controversy under Article III of the United States Constitution.” 28 U.S.C.
   § 1367(a). “Nonfederal claims are part of the same case as federal claims when they
   derive from a common nucleus of operative fact and are such that a plaintiff would
   ordinarily be expected to try them in one judicial proceeding.” Trustees of Constr. Indus.
   & Laborers Health & Welfare Tr. v. Desert Valley Landscape & Maint., Inc., 333 F.3d
   923, 925 (9th Cir. 2003) (internal quotation marks omitted); see also Bahrampour v.
   Lampert, 356 F.3d 969, 978 (9th Cir. 2004) (“A state law claim is part of the same case
   or controversy when it shares a ‘common nucleus of operative fact’ with the federal
   claims and the state and federal claims would normally be tried together.”).

          Here, there is nothing in the FAC illustrating that CLU’s alleged failure “to
   accurately specify the gross wages earned by Coach Day and other aggrieved employees

   ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           22
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 23 of 28 Page ID #:1023



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                      Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

   by improperly recording donations to the university from pre-tax categories of the pay
   stubs” arises out of a common nucleus of operative fact with either the Title IX claim or
   the claims based on the Softball Team incident. Trustees of Constr. Indus. & Laborers
   Health & Welfare Tr., 333 F.3d at 925. 5 Accordingly, the Court ORDERS Plaintiffs to
   show cause, in writing, within five (5) days of this Order’s issuance why the Court should
   not decline supplemental jurisdiction over the PAGA claim.

          K.      Plaintiffs’ UCL Claim (Thirteenth Cause of Action)

           Defendants also argue that the UCL claim fails as Plaintiffs have not sufficiently
   alleged standing, and because the predicate claims upon which the UCL claim is based
   are insufficiently pleaded. (Mem. at 38-39, Doc. 58-1.) “[S]tatutory standing under the
   UCL requires a plaintiff to demonstrate he suffered ‘some form of economic injury’
   resulting from the defendant’s unfair business practice.” Cavka v. SoulCycle Inc., 2017
   WL 2906034, at *5 (C.D. Cal. Jan. 30, 2017) (Staton, J.) Moreover, where the predicate
   claim upon which the UCL claim relies fails, so too does the UCL claim. Razavi v.
   Caliber Home Loans, Inc., 2018 WL 7348848, at *4 (C.D. Cal. Dec. 18, 2018) (Staton,
   J.)

          Here, Plaintiffs allege two forms of economic injury: lost tuition and lost
   compensation. (FAC ¶ 290, Doc. 41.) Presumably, it is Softball Team Plaintiffs who
   claim lost tuition and Plaintiffs Day, Young, and Gluckman who claim lost
   compensation. Because the Court has concluded that the Softball Team Plaintiffs’ breach
   of contract claim and the Coach Plaintiffs’ hostile work environment and constructive
   termination claims are inadequately pleaded, the UCL claims of all Softball Team
   Plaintiffs and Plaintiffs Young and Gluckman are DISMISSED with leave to amend, as
   these plaintiffs have stated no viable predicate claim. The Court declines to dismiss

          5
            Indeed, the only reason the Court is maintaining jurisdiction over the Softball Team
   incident claims is based on the potential overlap with Coach Day’s claim of retaliation for
   reporting the alleged Title IX violation.
   ______________________________________________________________________________
                                 CIVIL MINUTES – GENERAL                                       23
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 24 of 28 Page ID #:1024



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                     Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

   Plaintiff Day’s UCL claim given that the Court found her FEHA retaliation claim
   sufficiently pleaded.

          L.      Whether Causes of Action One through Seven and Thirteen are Barred
                  by California’s Strategic Lawsuits Against Public Participation (anti-
                  SLAPP) Statute

           Next, Defendants request that this Court dismiss Causes of Action One through
   Seven and Thirteen based on California’s anti-SLAPP statute. A court considering
   whether claims are barred by the “anti-SLAPP statute must engage in a two-part inquiry.”
   Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1110 (9th Cir. 2003). “First, a defendant
   must make an initial prima facie showing that the plaintiff’s suit arises from an act in
   furtherance of the defendant’s right of petition or free speech.” Id. (internal quotation
   marks omitted). Under the anti-SLAPP statute, free speech includes “‘any written or oral
   statement or writing made in a place open to the public or a public forum in connection
   with an issue of public interest,’ and ‘any other conduct in furtherance of the exercise of
   the constitutional right of petition or the constitutional right of free speech in connection
   with a public issue or an issue of public interest.’” Id. Generally, if a defendant makes
   an initial prima facie showing, “the burden shifts to the plaintiff to demonstrate a
   probability of prevailing on the challenged claims.” Id. But “when an anti-SLAPP
   motion to strike challenges only the legal sufficiency of a claim,” as here, a court
   considers instead “whether a claim is properly stated.” Planned Parenthood Fed’n of
   Am., Inc. v. Ctr. for Med. Progress, 890 F.3d 828, 834 (9th Cir.), amended, 897 F.3d
   1224 (9th Cir. 2018).

          Addressing the first part of the analysis, Defendants argue that the challenged
   causes of action rest on allegations that arise from protected activity. (Mem. at 41, Doc.
   58-1.) As support, Defendants note that the challenged causes of action are based on the
   following activities as alleged in the FAC: “1) the February 5 Email to the CLU
   community addressing racism on campus ([FAC] ¶ 75); (2) the February 8 Meeting with

   ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           24
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 25 of 28 Page ID #:1025



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                      Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

   the Softball Players regarding the racially-charged team event (id. at ¶ 87); (3) the
   February 10 Email to the CLU community addressing racism on campus (id. at ¶ 96); and
   (4) the February 13 Community Forum regarding racially-charged events (id. at. ¶ 114).”
   (Id.) Defendants allege that the activity alleged underlying the challenged causes of
   action “is the exact type of activity ‘in connection with a public issue or an issue of
   public interest’ that the anti-SLAPP statute is intended to protect.” (Id. (citing Cal. Civ.
   Proc. Code § 425.16(e)(4)).

           Here, the Court finds that Defendants have sufficiently made a prima facie
   showing that the activities at issue are protected conduct. As alleged in the FAC, the
   activities at issue here concerned an allegedly racist incident in connection with an
   athletic team at CLU. (See, e.g., FAC ¶ 75, Doc. 41.) The community forum, emails,
   and meeting with the Softball Team arguably constitute “conduct” that furthered public
   conversation regarding the allegedly racist incidents. See FilmOn.com Inc. v.
   DoubleVerify Inc., 7 Cal. 5th 133, 151 (2019) (“[A] statement is made ‘in connection
   with’ a public issue when it contributes to – that is, ‘participat[es]’ in or furthers – some
   public conversation on the issue.”). And that the activities concerned a matter of public
   interest is evidenced by the widespread attention paid to the incident by CLU’s student
   community and the public media. (See, e.g., FAC ¶¶ 79-81, Doc. 41.) Accordingly, the
   Court concludes that Defendants have made a “threshold” showing that the allegations
   underlying the challenged claims are based on protected activity. See also Skidmore v.
   Regents of Univ. of California, 2021 WL 843195, at *1 (N.D. Cal. Mar. 5, 2021) (finding
   that Defendants have made a prima facie showing that the “Individual Defendants’ three
   statements to campus community members that condemned [plaintiff’s] comments”
   regarding treatment of bears in China qualified as protected activity).

          As to the second part of the analysis, Defendants argue that Plaintiffs cannot meet
   their burden because the challenged claims are legally insufficient. (Mem. at 42, Doc.
   58-1.) The Court denies Defendants’ anti-SLAPP motion insofar as the Court has already
   found Plaintiffs’ defamation claims and Plaintiff Day’s UCL claim legally sufficient.
   ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           25
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 26 of 28 Page ID #:1026



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                     Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

   However, the Court has dismissed Plaintiffs’ breach of contract claim (First Cause of
   Action), intentional infliction of emotional distress claim (Fifth Cause of Action),
   negligent infliction of emotional distress claim (Sixth Cause of Action), and negligence
   claim (Seventh Cause of Action) on grounds that Plaintiffs have failed to state a claim.

           “[G]ranting a defendant’s anti-SLAPP motion to strike a plaintiff’s initial
   complaint without granting the plaintiff leave to amend would directly collide with Fed.
   R. Civ. P. 15(a)’s policy favoring liberal amendment.” Verizon Delaware, Inc. v. Covad
   Commc’ns Co., 377 F.3d 1081, 1091 (9th Cir. 2004). Although this is not Plaintiffs’
   initial complaint, the Court has determined that some of their claims are legally sufficient
   and dismissed others with leave to amend. The purpose of the anti-SLAPP statute would
   still be served if Plaintiffs eliminate meritless claims or plead them adequately. See id.
   If, after amendment, the complaint still contains legally insufficient claims, Defendants
   continue to have anti-SLAPP remedies available to them. Accordingly, the Court will
   defer its final ruling on Defendants’ anti-SLAPP request until after Plaintiffs have
   amended their complaint in light of this Order.

          M.      Plaintiffs’ Demand for Punitive Damages

           Finally, Defendants argue that Plaintiffs’ demand for punitive damages is
   unsupported as they are only available “where it is proven by clear and convincing
   evidence that the defendant has been guilty of oppression, fraud, or malice.” (Mem. at 42
   (internal quotation marks omitted), Doc. 58-1.) The Court finds Defendants’ arguments
   premature at this stage and declines to strike the punitive damages claim from the
   complaint, especially in light of the Court’s finding that the FEHA retaliation claim is
   sufficiently pleaded.




   ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           26
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 27 of 28 Page ID #:1027



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                    Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

   IV.    CONCLUSION

          For the above reasons, Defendants’ Motion is GRANTED IN PART, as follows:

              • First Cause of Action (Breach of Contract) is DISMISSED with leave to
                amend.

              • Fifth Cause of Action (Intentional Infliction of Emotional Distress) is
                DISMISSED with leave to amend.

              • Sixth Cause of Action (Negligent Infliction of Emotional Distress) is
                DISMISSED with leave to amend.

              • Seventh Cause of Action (Negligence) is DISMISSED with leave to
                amend.

              • Tenth Cause of Action (Hostile Work Environment) is DISMISSED with
                leave to amend.

              • Eleventh Cause of Action (Constructive Termination) is DISMISSED with
                leave to amend.

          Other than as stated above, Defendants’ Motion is DENIED. Plaintiffs are
   GRANTED LEAVE TO AMEND the pleading, correcting the deficiencies identified
   herein in a manner consistent with all Rule 11 obligations. Plaintiffs should carefully
   review the Court’s specific instructions for leave to amend throughout this Order, based
   on the specific claim at issue. Plaintiffs may not add claims or new defendants to their
   pleading. Any amended complaint shall be filed within fourteen (14) days of the date of




   ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           27
Case 8:21-cv-01286-JLS-DFM Document 86 Filed 08/30/22 Page 28 of 28 Page ID #:1028



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

   Case No. 8:21-cv-01286-JLS-DFM                                       Date: August 29, 2022
   Title: Debby Day et al v. California Lutheran University et al

   this Order. Any claim not included in a timely-filed amended complaint will be deemed
   dismissed without leave to amend.

         In addition, Plaintiffs are ORDERED to show cause, in writing, why this Court
   should not dismiss the PAGA claim for lack of supplemental jurisdiction. Plaintiffs shall
   submit their response within five (5) days of this Order’s issuance.


                                                                    Initials of Deputy Clerk: vrv




   ______________________________________________________________________________
                          CIVIL MINUTES – GENERAL                           28
